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AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District
                                                 __________      of Columbia
                                                            District  of __________

                  United States of America
                             v.                                    )
                         Matthew Perna                             )        Case No.
                                                                   )
                                                                   )
                                                                   )
                                                                   )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Matthew Perna                                                                                         ,
who is accused of an offense or violation based on the following document filed with the court:

u Indictment              u Superseding Indictment        u Information        u Superseding Information              ✔ Complaint
                                                                                                                      u
u Probation Violation Petition             u Supervised Release Violation Petition        u Violation Notice          u Order of the Court

This offense is briefly described as follows:

  18 U.S.C. 1752 (a)(1) and (2) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful
  Authority

  40 U.S.C. § 5104(e)(2)(D) and (G) - Disorderly Conduct on Capitol Grounds
                                                                                                            Digitally signed by Robin M.
                                                                           Robin M.                         Meriweather
                                                                                                            Date: 2021.01.18 15:52:18
Date:         01/18/2021
                                                                           Meriweather                      -05'00'
                                                                                           Issuing officer’s signature
                                                                                         5RELQ00HULZHDWKHU
City and state:       Washington, DC                                                   United States Magistrate Judge
                                                                                             Printed name and title


                                                                 Return

           This warrant was received on (date)                         , and the person was arrested on (date)
at (city and state)                                          .

Date:
                                                                                          Arresting officer’s signature



                                                                                             Printed name and title
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                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                        (Not for Public Disclosure)

Name of defendant/offender:             Matthew Perna

Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:         Unknown




History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):




          Print                       Save As...                                                                Reset
